C, Case 24-55036-jwc Doc 17 Document
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                                              LIST OF CREDIYORS
                                                                  Guidelines:
The debtor must provide and maintain a complete List of           • Creditor name and mailing address ONLY
Creditors reflecting names and addresses only of all              • Enter one creditor per box
                                                                  • Creditor's name must be on the first line
creditors. This list is used to mail notices to creditors. Lack
                                                                  • City, state and zip code must be on the last line
of proper notice may result in no discharge of a debt
                                                                  • No more than five lines of information per creditor
owed.
                                                                  • Do NOT include: account numbers, phone numbers or
                                                                  amounts owed



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